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                                     12                                UNITED STATES DISTRICT COURT
                                                                            DISTRICT OF NEVADA
                                     13
Las Vegas, NV 89169-5996




                                     14     GENE DARROUGH, an individual, on behalf         Case No.:   2:20-cv-01951-APG-BNW
                                            of himself and all others similarly situated,
                                     15
                                                        Plaintiff,                            STIPULATION AND ORDER TO
                                     16
                                                                                             EXTEND DEADLINE TO RESPOND
                                            vs.
                                     17                                                             TO COMPLAINT
                                            SOC, LLC, a Delaware limited liability                 [FIRST REQUEST]
                                     18     company; SOC-SMG, INC., a Nevada
                                            corporation; DAY & ZIMMERMANN, INC.,
                                     19     a Maryland corporation; and DOES 1-20,
                                            inclusive,
                                     20
                                                        Defendants.
                                     21
                                     22
                                     23            Pursuant to LR IA 6-1, LR IA 6-2, and LR 7-1, Defendants SOC LLC (“SOC”), SOC-
                                     24 SMG, Inc. (“SOC-SMG”), and Day & Zimmermann, Inc. (“Day & Zimmermann”) (collectively
                                     25 “Defendants”) and Plaintiff Gene Darrough by and through their respective counsel of record,
                                     26 hereby stipulate and agree to the following:
                                     27
                                     28



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                                      1          1.     On September 30, 2020, Plaintiff filed his Complaint against Defendants. See

                                      2   ECF No. 1-2. Plaintiff purportedly served the Summons and Complaint on SOC-SMG and SOC

                                      3   on October 1, 2020. Plaintiff has not yet served Day & Zimmermann.

                                      4          2.     Defendants removed this action to this Court on October 21, 2020. See ECF No.

                                      5   1.

                                      6          3.     Defendants’ answer or response to the Complaint is, therefore, due on October

                                      7   28, 2020. See Fed. R. Civ. P. 81(c).

                                      8          4.     Plaintiff and Defendants agree that Defendants shall have up to and including

                                      9   November 20, 2020, to answer or otherwise respond to Plaintiff’s Complaint.

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Las Vegas, NV 89169-5996




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                                      1          5.     This is the first request for an extension of time to answer or respond to the

                                      2   Complaint. The extension is requested in good faith to provide Defendants with sufficient time

                                      3   to review Plaintiff’s allegations with counsel and to answer or otherwise respond to the

                                      4   Complaint.

                                      5      DATED this 26th day of October, 2020.

                                      6      EARLY SULLIVAN WRIGHT                           LEWIS ROCA ROTHGERBER CHRISTIE
                                             GIZER & McRAE LLP                               LLP
                                      7

                                      8      By: /s/ Scott E. Gizer                          By: /s/ Jennifer K. Hostetler
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                                     19
                                                                                             *Will comply with LR IA 11-2 within 45 days
                                     20
                                                                                             Attorneys for Defendants
                                     21

                                     22      IT IS SO ORDERED                   ORDER
                                     23      DATED:  4:21ORDERED:
                                               IT IS SO   pm, October 30, 2020
                                     24
                                                                                      _________________________________
                                     25                                               UNITED STATES DISTRICT JUDGE
                                             BRENDA WEKSLER
                                     26                                 DATED: ________________________
                                             UNITED STATES MAGISTRATE JUDGE
                                     27

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